Case 1:25-cv-00916-JDB   Document 19-7   Filed 04/08/25   Page 1 of 3




       EXHIBIT 4
          Case 1:25-cv-00916-JDB              Document 19-7           Filed 04/08/25        Page 2 of 3



Suspension of Security Clearances and Evaluation of
Government Contracts
    whitehouse.gov/presidential-actions/2025/02/suspension-of-security-clearances-and-evaluation-of-government-
contracts

                                                                                                    February 25, 2025




Presidential Actions
MEMORANDUM FOR THE SECRETARY OF STATE
        THE SECRETARY OF DEFENSE
        THE ATTORNEY GENERAL
        THE SECRETARY OF ENERGY
        THE DIRECTOR OF THE OFFICE OF MANAGEMENT AND
          BUDGET
        THE DIRECTOR OF NATIONAL INTELLIGENCE
        THE DIRECTOR OF THE CENTRAL INTELLIGENCE AGENCY
        THE DIRECTOR OF THE OFFICE OF PERSONNEL
          MANAGEMENT

SUBJECT:      Suspension of Security Clearances and Evaluation
of Government Contracts


                                                                                                                        1/2
        Case 1:25-cv-00916-JDB         Document 19-7      Filed 04/08/25     Page 3 of 3

I hereby direct the Attorney General and all other relevant heads of executive departments
and agencies (agencies) to immediately take steps consistent with applicable law to suspend
any active security clearances held by Peter Koski and all members, partners, and
employees of Covington & Burling LLP who assisted former Special Counsel Jack Smith
during his time as Special Counsel, pending a review and determination of their roles and
responsibilities, if any, in the weaponization of the judicial process. I also direct the Attorney
General and heads of agencies to take such actions as are necessary to terminate any
engagement of Covington & Burling LLP by any agency to the maximum extent permitted by
law and consistent with the memorandum that shall be issued by the Director of the Office of
Management and Budget.

Additionally, if any of the covered Covington & Burling LLP members, partners, and
employees referenced in this memorandum obtained a security clearance from an agency
not included as an addressee of this memorandum, the Director of the Office of Personnel
Management shall provide this memorandum to the appropriate clearance-granting agency
to ensure compliance.

I further direct the Director of the Office of Management and Budget to issue a memorandum
to all agencies to review all Government contracts with Covington & Burling LLP. To the
extent permitted by applicable law, heads of agencies shall align their agency funding
decisions with the interests of the citizens of the United States; with the goals and priorities
of my Administration as expressed in executive actions, especially Executive Order 14147 of
January 20, 2025 (Ending the Weaponization of the Federal Government); and as heads of
agencies deem appropriate.

This memorandum is not intended to, and does not, create any right or benefit, substantive
or procedural, enforceable at law or in equity by any party against the United States, its
departments, agencies, or entities, its officers, employees, or agents, or any other person.




                                                                                                     2/2
